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 5    LOCAL COUNSEL:
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      U.S. Securities and Exchange Commission
 7    444 S. Flower Street, Suite 900
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      Attorneys for Plaintiff
10    Securities and Exchange Commission
11
                            UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                        Southern Division
14
15      SECURITIES AND EXCHANGE                    Case No. 8:20-cv-00124-DOC-JDE
        COMMISSION,
16                                                 STIPULATION OF DISMISSAL OF
                    Plaintiff,                     DEFENDANT SMRB, LLC
17
18            vs.

19      GUY SCOTT GRIFFITHE,
        ROBERT WILLIAM RUSSELL,
20      RENEWABLE TECHNOLOGIES
        SOLUTION, INC., GREEN ACRES
21      PHARMS, LLC, and
        SMRB, LLC,
22
                    Defendants, and
23
        SONJA MARIE RUSSELL,
24
                    Relief Defendant.
25
26
27
28
     Case 8:20-cv-00124-DOC-JDE Document 77 Filed 05/06/21 Page 2 of 4 Page ID #:422




 1          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the
 2    Parties file this Stipulation of Dismissal of all claims against Defendant SMRB, LLC.
 3
 4                                                  Respectfully submitted,
 5
      Plaintiff Securities and
 6    Exchange Commission                           Defendant SMRB, LLC
 7
      By:   /s/Duane K. Thompson                    By: /s/ Robert William Russell
 8          100 F Street NE                         31830 NE Cherry Valley Road
            Washington, DC 20549                    Duvall, Washington 98019
 9
            202/551-7159 (telephone)                206/909-4834 (phone)
10          202/772-9246 (fax)                      rockit@cablespeed.com
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11
12    Defendant Robert William Russell              Defendant Guy Scott Griffithe
13
      By:   /s/ Robert William Russell              By: /s/ Ralph C. Shelton, II
14          31830 NE Cherry Valley Road             Schiff & Shelton
            Duvall, Washington 98019                3700 Campus Drive, Suite 202
15
            206/909-4834 (phone)                    Newport Beach, CA 92660
16          rockit@cablespeed.com                   949/417-2211 (phone)
                                                    949/417-2212 (fax)
17
      Relief Defendant Sonja Marie Russell
18
      By:   Sonja Marie Russell
19
            31830 NE Cherry Valley Road
20          Duvall, Washington 98019
            206/909-4834 (phone)
21
            rockit@cablespeed.com
22
      Dated: May 6, 2021
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     Case 8:20-cv-00124-DOC-JDE Document 77 Filed 05/06/21 Page 3 of 4 Page ID #:423




 1                                   PROOF OF SERVICE
 2    DUANE K. THOMPSON hereby certifies that on May 6, 2021, he caused to be
      served the document entitled STIPULATION OF DISMISSAL OF DEFENDANT
 3    SMRB, LLC on all the non-defaulting parties to this action addressed as stated on
      the attached service list:
 4
      ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
 5    collection and mailing today following ordinary business practices. I am readily
      familiar with this agency’s practice for collection and processing of correspondence
 6    for mailing; such correspondence would be deposited with the U.S. Postal Service on
      the same day in the ordinary course of business.
 7
      ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
 8    personally deposited with the U.S. Postal Service. Each such envelope was deposited
      with the U.S. Postal Service at Los Angeles, California, with first class postage
 9    thereon fully prepaid.
10    ☐     EXPRESS U.S. MAIL: Each such envelope was deposited in a facility
      regularly maintained at the U.S. Postal Service for receipt of Express Mail at Los
11    Angeles, California, with Express Mail postage paid.
12    ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to the
      office of the addressee as stated on the attached service list.
13
      ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated
14    by United Parcel Service (“UPS”) with delivery fees paid or provided for, which I
      deposited in a facility regularly maintained by UPS or delivered to a UPS courier, at
15    Los Angeles, California.
16    ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail to
      the electronic mail address as stated on the attached service list.
17
      ☒     E-FILING: By causing the document to be electronically filed via the Court’s
18    CM/ECF system, which effects electronic service on counsel who are registered with
      the CM/ECF system.
19
      ☐     FAX: By transmitting the document by facsimile transmission. The
20    transmission was reported as complete and without error.
21          I declare under penalty of perjury that the foregoing is true and correct.
22     Dated: May 6, 2021                        /s/ Duane K. Thompson
23                                               Duane K. Thompson
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 1                                 SEC v. Griffithe, et al.
                United States District Court—Central District of California
 2                          Case No. 8:20-cv-00124-DOC-JDE
 3                                   SERVICE LIST
 4
 5
      Robert William Russell
 6    31830 NE Cherry Valley Road
 7    Duvall, Washington 98019
      206/909-4834 (phone)
 8    rockit@cablespeed.com
 9
      Sonja Marie Russell
10    31830 NE Cherry Valley Road
11    Duvall, Washington 98019
      206/909-4834 (phone)
12    rockit@cablespeed.com
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      Pro Se Defendants,
14    William Robert Russell, SMRB, LLC,
      and Relief Defendant Sonja Marie Russell
15
      Ralph C. Shelton, Esq.
16    Laurie Schiff, Esq.
      Schiff & Shelton
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      Newport Beach, CA 92660
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      949/417-2212 (fax)
19
      Counsel to Defendant, Guy Scott Griffithe
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